            Case 5:21-cv-00844-XR Document 203 Filed 01/21/22 Page 1 of 7




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS


La Union del Pueblo Entero, et al.,

                Plaintiffs,

       v.                                     CIVIL ACTION NO. 5:21-CV-00844-XR

Gregory W. Abbott, et al.,

                Defendants.


       MOTION FOR LEAVE TO FILE BRIEF OF PROPOSED AMICUS CURIAE
           THE YOUNG BLACK LAWYERS’ ORGANIZING COALITION
        IN SUPPORT OF PLAINTIFFS’ SECOND AMENDED COMPLAINTS
          Case 5:21-cv-00844-XR Document 203 Filed 01/21/22 Page 2 of 7




       Pursuant to this Court’s inherent authority, proposed amicus curiae, the Young Black

Lawyers’ Organizing Coalition (“YBLOC”), respectfully moves for leave to file the attached

amicus curiae brief in support of Plaintiffs’ Second Amended Complaints. A copy of the proposed

brief is offered as an exhibit to this Motion.

           1. YBLOC is a non-partisan civic education organization comprised of lawyers and

law students dedicated to protecting and empowering Black voters in Texas and six other states.

YBLOC serves Black voters and empowers their voices through local community organizing and

advocacy, multimedia engagement, and voter education and protection programs for religious and

civic partners. As an organization centered in and working directly with Black communities across

Texas, YBLOC is particularly focused on educating Black voters about the State’s unique

historical legacy of voter suppression and the ways that custom unfortunately manifests for Black

voters in today’s elections. Accordingly, YBLOC has a special interest in this litigation, as well

as familiarity and knowledge of the significant harms that both Black communities in Texas as

well as voter-focused grassroots civic organizations will experience as a result of SB 1.

           2. YBLOC is deeply concerned that the ability of Black communities in Texas to

equitably exercise their right to vote will be disproportionately affected if SB 1 is upheld. Several

of SB 1’s provisions (Sections 6.01, 6.03, 6.04, 6.05, 3.09 and 3.10) target the very modalities

utilized most by Black voters during the 2020 election—early and mail-in voting. YBLOC

continues to field daily calls from local partners expressing their concerns and asking questions

regarding how SB 1 might affect the ability of their communities to exercise these forms of voting.

           3. YBLOC is particularly concerned about provisions of SB 1 which criminalize

constitutionally-protected civic engagement through broad, murky language that is creating fear

within communities and local organizations. Even as a nonpartisan organization whose activities



                                                 1
          Case 5:21-cv-00844-XR Document 203 Filed 01/21/22 Page 3 of 7




are rarely proximate to polling precincts, YBLOC is already experiencing the chill of civic

engagement and has a reasonable fear that the law students who make up a majority of its

volunteers will be hesitant to engage with its work due to SB 1’s expansive and ambiguous

language that could possibly subject them to criminal liability.

            4. Federal district courts possess the inherent authority and broad discretion to accept

amicus briefs. Permitting the filing of an amicus brief is especially appropriate when “the amicus

has unique information or perspective that can help the court” beyond what the parties are able to

provide. See, e.g., Halo Wireless, Inc. v. Alenco Communs. Inc., 684 F.3d 581, 596 (5th Cir. 2012).

YBLOC’s amicus brief will aid the Court in adjudicating Plaintiffs’ oppositions to the State

Defendants’ motions to dismiss. As a grassroots and community-based organization, YBLOC is

uniquely positioned to provide insights and perspectives not available from the parties to the

pending action, many of which operate at state or national levels rather than at the community-

level. Further, YBLOC offers unique insight into how SB 1 will impact those nonpartisan

organizations whose work is predicated on broad civic education, rather than direct engagement

with voters at polling precincts. The proposed amicus brief supports Plaintiffs’ positions, but not

duplicative of Plaintiffs’ filings.

            5. In this case, the State of Texas has passed legal provisions that suppress certain

Texans’ right to vote and restrict the ability of non-partisan organizations like Plaintiffs and

YBLOC to conduct important voter outreach initiatives. Plaintiffs’ Complaints address a broad

swath of SB 1’s provisions, articulating how those provisions violate Texans’ constitutionally-

protected right to vote. YBLOC’s brief focuses specifically on SB 1 Section 7.04 and explains

how that provision inhibits its ability to meaningfully engage with Texas voters.




                                                 2
          Case 5:21-cv-00844-XR Document 203 Filed 01/21/22 Page 4 of 7




            6. YBLOC has a significant interest in this case because the ability to engage with

voters—at times in a manner prohibited by SB 1—is crucial to YBLOC’s core mission of

protecting and empowering the Black electoral voice.

            7. YBLOC has timely filed its motion.

            8. The Houston Justice Plaintiffs, OCA-Greater Houston Plaintiffs, and LULAC

Plaintiffs are unopposed to the filing of this brief. The United States takes no position. The LUPE

Plaintiffs took no clear position at the time of filing.

            9. Among defendants, the State Defendants oppose.            Hidalgo County Elections

Administrator Yvonne Ramon takes no position. The remaining defendants are unopposed. They

are Harris County Elections Administrator Isabel Longoria, Bexar County Elections Administrator

Jacquelyn Callanen, Travis County Clerk Dana DeBeauvoir, El Paso County Elections

Administrator Lisa Wise, and Dallas County Elections Administrator Michael Scarpello.

            10. For the foregoing reasons, YBLOC respectfully requests that this Court grant leave

for participation as amicus curiae, the filing of this Motion, and its brief attached to this Motion.




                                                   3
  Case 5:21-cv-00844-XR Document 203 Filed 01/21/22 Page 5 of 7




Respectfully submitted this 21st day of January, 2022.

                             By: s/ Veronica S. Moyé

                             Veronica S. Moyé, SBN 24000092
                             Andrew LeGrand, SBN 24070132
                             GIBSON, DUNN & CRUTCHER LLP
                             2001 Ross Avenue, Suite 2100
                             Dallas, TX 75201-2911
                             Telephone: (214) 698-3100
                             Facsimile: (214) 571-2900
                             vmoye@gibsondunn.com
                             alegrand@gibsondunn.com


                             Attorneys for the Young Black Lawyers’
                             Organizing Coalition




                                        4
Case 5:21-cv-00844-XR Document 203 Filed 01/21/22 Page 6 of 7




                     Anne Champion
                     Lee R. Crain
                     Cate McCaffery
                     GIBSON, DUNN & CRUTCHER LLP
                     200 Park Avenue
                     New York, NY 10166-0193
                     Telephone: (212) 351-4000
                     Facsimile: (212) 351-4035
                     achampion@gibsondunn.com
                     lcrain@gibsondunn.com
                     cmcaffery@gibsondunn.com

                     Katherine Maddox Davis
                     Cate Harding
                     GIBSON, DUNN & CRUTCHER LLP
                     1050 Connecticut Avenue, N.W.
                     Washington, D.C. 20036-5306
                     Telephone: (202) 955-8500
                     Facsimile: (202) 467-0539
                     kdavis@gibsondunn.com
                     charding@gibsondunn.com

                     Patrick J. Fuster
                     GIBSON, DUNN & CRUTCHER LLP
                     333 South Grand Avenue
                     Los Angeles, CA 90071-3198
                     Telephone: (212) 229-7000
                     Facsimile: (212) 229-7520
                     pfuster@gibsondunn.com

                     Raena Ferrer Calubaquib
                     GIBSON, DUNN & CRUTCHER LLP
                     1881 Page Mill Road
                     Palo Alto, CA 94301-1211
                     Telephone: (650) 849-5300
                     Facsimile: (650) 849-5333
                     rcalubaquib@gibsondunn.com

                     Of Counsel




                              5
          Case 5:21-cv-00844-XR Document 203 Filed 01/21/22 Page 7 of 7




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of January, 2022, I electronically filed a true and

correct copy of the foregoing Motion for Leave to File the Proposed Amicus Curiae Brief of The

Young Black Lawyers’ Organizing Coalition with the Clerk of the Court using the CM/ECF

system, which will send notification of the filing to all counsel of record.

       Respectfully submitted this 21st day of January, 2022.



                                                      s/ Veronica S. Moyé

                                                      Veronica S. Moyé

                                                       Attorney for the Young Black Lawyers’
                                                       Organizing Coalition




                                                  6
